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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ESPINOZA ESCALONA, et al.,

Plaintiffs–Petitioners,
                                                            Case No: 1:25-cv-00604
                             v.

NOEM, Secretary of the U.S. Department of Homeland
Security, in her official capacity, et al.,

Defendants–Respondents.


          PLAINTIFFS-PETITIONERS’ EMERGENCY MOTION FOR STAY OF
                        TRANSFER TO GUANTÁNAMO

       Plaintiffs-Petitioners (“Plaintiffs”) are ten civil immigration detainees who are all at

imminent risk of transfer from the United States to the U.S. military base at Guantánamo Bay,

Cuba. They all have final orders of removal and may transferred at any time, placing them at

immediate risk of harm, including the denial of access to the outside world and the likelihood of

being subject to horrific, punitive conditions at Guantánamo. Several of them have already been

nearly transferred or threatened with transfer to Guantánamo. The government has refused to

provide notice of transfers to Guantánamo, so they can occur at any moment. Plaintiffs respectfully

move, based on this Motion and the attached Memorandum of Law and supporting declarations,

for an emergency stay of transfer to Guantánamo, pending briefing and decision on their request

for further relief or permanent stays.

       As set forth in the accompanying Memorandum of Law, Plaintiffs’ transfers to, and

detention at, Guantánamo are statutorily unauthorized and thus violate the Immigration and

Nationality Act; are arbitrary and capricious in violation of the Administrative Procedure Act; and

violate due process under the Fifth Amendment.
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       A proposed order is attached for the Court’s convenience. Plaintiffs respectfully request

that this Court grant this emergency application and issue an emergency stay.



Dated: March 1, 2025                           Respectfully submitted,

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